              Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 1 of 8




AT&T
PhoneNumber: 501.744.9344
                                  Count     Date     Time     Contact        Location     Type   Minutes
Totals for this billing period:      1 23-Aug 3:40 PM 501.513.4120 INCOMING               DT          1
301 calls
1518 minutes                         2    19-Aug   12:30 PM   501.955.0200   LITTLEROCK   DT          7
                                     3    19-Aug   12:12 PM   501.778.7698   INCOMING     DT          1
                                     4    19-Aug   12:09 PM   501.358.7190   INCOMING     DT          1
                                     5    18-Aug    3:43 PM   501.838.0659   INCOMING     DT          4
                                     6    18-Aug   10:28 AM   281.489.6925   INCOMING     DT          1
                                     7    18-Aug    8:18 AM   501.653.2422   INCOMING     DT          1
                                     8    18-Aug    8:09 AM   501.920.5766   LITTLEROCK   DT          6
                                     9    18-Aug    8:03 AM   501.920.5756   LITTLEROCK   DT          6
                                    10    17-Aug    8:21 AM   501.467.4907   MALVERN      DT          1
                                    11    16-Aug    3:48 PM   501.519.0680   INCOMING     DT          2
                                    12    16-Aug    2:36 PM   501.590.7453   INCOMING     DT         11
                                    13    16-Aug   10:10 AM   501.778.1272   BENTON       DT          2
                                    14    13-Aug    9:40 AM   501.398.9767   LITTLEROCK   DT          1
                                    15    13-Aug    9:16 AM   501.417.5065   INCOMING     DT          1
                                    16    12-Aug    1:20 PM   501.398.9767   LITTLEROCK   DT          2
                                    17    12-Aug   11:32 AM   501.351.3822   LITTLEROCK   DT          5
                                    18    11-Aug   12:55 PM   501.658.2830   INCOMING     DT          5
                                    19    11-Aug   12:46 PM   501.519.0680   INCOMING     DT          5
                                    20    11-Aug   12:45 PM   501.952.1000   LITTLEROCK   DT          1
                                    21    11-Aug   12:42 PM   501.519.0680   LITTLEROCK   DT          1
                                    22    11-Aug   12:39 PM   877.210.2478   Toll Free    DT          1
                                    23    10-Aug   11:06 AM   501.650.1642   LITTLEROCK   DT          1
                                    24     9-Aug   10:33 AM   870.725.3559   INCOMING     DT         12
                                    25     9-Aug    8:13 AM   501.351.3287   LITTLEROCK   DT          1
                                    26     9-Aug    8:07 AM   501.351.3287   LITTLEROCK   DT          1
                                    27     6-Aug    5:34 PM   501.295.2829   LITTLEROCK   DT          1
                                    28     6-Aug    4:32 PM   501.766.4242   LITTLEROCK   DT          8
                                    29     6-Aug   10:02 AM   870.405.6000   INCOMING     DT          3
                                    30     5-Aug    4:49 PM   501.312.0800   LITTLEROCK   DT          2
                                    31     5-Aug    4:36 PM   501.626.4068   LITTLEROCK   DT          2
                                    32     5-Aug    4:12 PM   501.295.2829   INCOMING     DT          5
                                    33     5-Aug    4:11 PM   501.295.2829   INCOMING     DT          1
                                    34     5-Aug    4:11 PM   501.295.2829   LITTLEROCK   DT          1
                                    35     5-Aug    3:41 PM   501.256.5922   LITTLEROCK   DT          4
                                    36     5-Aug    3:17 PM   501.326.2588   INCOMING     DT          1
                                    37     5-Aug    2:49 PM   501.295.2829   LITTLEROCK   DT          1
Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 2 of 8




                38   5-Aug    2:44 PM   501.772.0729   INCOMING     DT    5
                39   5-Aug    2:37 PM   501.351.3287   INCOMING     DT    4
                40   5-Aug    2:26 PM   501.295.2829   LITTLEROCK   DT    7
                41   5-Aug    2:11 PM   501.772.0729   LITTLEROCK   DT    2
                42   5-Aug    1:55 PM   805.201.9112   INCOMING     DT    2
                43   5-Aug    1:48 PM   501.295.2829   INCOMING     DT    1
                44   5-Aug    1:26 PM   417.399.3617   BOLIVAR      DT    5
                45   5-Aug    1:22 PM   501.516.0545   LITTLEROCK   DT    3
                46   5-Aug    1:19 PM   501.467.4907   MALVERN      DT    3
                47   5-Aug    1:13 PM   501.326.2588   BENTON       DT    7
                48   5-Aug    1:10 PM   501.351.3287   LITTLEROCK   DT    1
                49   5-Aug    1:07 PM   501.295.2829   LITTLEROCK   DT    4
                50   5-Aug    1:03 PM   501.516.0545   CALL WAIT    CW    4
                51   5-Aug   12:55 PM   501.326.2588   BENTON       DT    9
                52   5-Aug   12:44 PM   501.612.2390   CALL WAIT    CW   12
                53   5-Aug   12:43 PM   501.612.2390   LITTLEROCK   DT    2
                54   5-Aug   12:38 PM   501.326.2588   BENTON       DT    3
                55   5-Aug   12:19 PM   417.861.0611   INCOMING     DT   16
                56   5-Aug   12:14 PM   417.861.0611   INCOMING     DT    5
                57   5-Aug   12:07 PM   501.467.4907   MALVERN      DT    1
                58   5-Aug   11:57 AM   417.865.0769   SPRINGFLD    DT    8
                59   5-Aug   11:53 AM   501.844.6225   JONESMILLS   DT    1
                60   5-Aug   11:28 AM   501.400.6466   INCOMING     DT    5
                61   5-Aug   11:19 AM   501.326.2588   INCOMING     DT    8
                62   5-Aug   10:34 AM   501.351.3287   LITTLEROCK   DT    3
                63   5-Aug   10:29 AM   501.467.4907   MALVERN      DT    5
                64   5-Aug    9:58 AM   501.812.0003   LITTLEROCK   DT    8
                65   5-Aug    9:57 AM   501.326.2588   BENTON       DT    1
                66   5-Aug    9:47 AM   501.351.3287   LITTLEROCK   DT    1
                67   5-Aug    9:32 AM   501.554.1310   LITTLEROCK   DT    1
                68   5-Aug    9:25 AM   501.554.1310   CALL WAIT    CW    5
                69   5-Aug    9:20 AM   501.554.1310   INCOMING     DT    5
                70   5-Aug    9:08 AM   501.295.2829   INCOMING     DT    3
                71   5-Aug    9:05 AM   501.295.2829   LITTLEROCK   DT    1
                72   5-Aug    8:58 AM   501.920.5756   INCOMING     DT    3
                73   5-Aug    8:56 AM   501.467.4907   MALVERN      DT    2
                74   5-Aug    8:56 AM   501.554.1310   LITTLEROCK   DT    1
                75   5-Aug    8:54 AM   501.326.2588   BENTON       DT    1
                76   5-Aug    8:49 AM   501.920.5756   LITTLEROCK   DT    1
                77   5-Aug    8:42 AM   501.650.1642   INCOMING     DT    2
                78   5-Aug    8:39 AM   501.351.3287   LITTLEROCK   DT    2
Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 3 of 8




                79   5-Aug   8:27 AM   501.326.2588   BENTON       DT    4
                80   5-Aug   8:24 AM   501.554.1310   INCOMING     DT    3
                81   5-Aug   8:08 AM   501.554.1310   LITTLEROCK   DT   15
                82   5-Aug   8:08 AM   501.326.2588   BENTON       DT    1
                83   5-Aug   8:05 AM   501.295.2829   LITTLEROCK   DT    3
                84   5-Aug   7:59 AM   501.920.5756   LITTLEROCK   DT    3
                85   5-Aug   7:34 AM   501.326.2588   CALL WAIT    CW    5
                86   5-Aug   7:25 AM   501.554.1310   LITTLEROCK   DT   10
                87   5-Aug   7:23 AM   501.554.1310   LITTLEROCK   DT    1
                88   5-Aug   7:22 AM   713.492.7799   HOUSTON      DT    1
                89   5-Aug   7:17 AM   501.295.2829   LITTLEROCK   DT    5
                90   5-Aug   7:10 AM   501.467.4907   MALVERN      DT    4
                91   4-Aug   7:49 PM   501.838.0659   LITTLEROCK   DT    1
                92   4-Aug   7:45 PM   417.861.0611   SPRINGFLD    DT    1
                93   4-Aug   7:41 PM   417.865.0769   SPRINGFLD    DT    1
                94   4-Aug   6:29 PM   501.554.1310   INCOMING     DT   73
                95   4-Aug   6:10 PM   501.554.1310   LITTLEROCK   DT    1
                96   4-Aug   5:45 PM   870.761.8282   INCOMING     DT   25
                97   4-Aug   5:35 PM   501.295.2829   LITTLEROCK   DT    1
                98   4-Aug   5:33 PM   501.295.2829   INCOMING     DT    2
                99   4-Aug   5:28 PM   870.761.8282   JONESBORO    DT    1
               100   4-Aug   5:20 PM   501.326.2588   INCOMING     DT    6
               101   4-Aug   5:14 PM   501.554.1310   LITTLEROCK   DT    1
               102   4-Aug   5:09 PM   501.920.5756   LITTLEROCK   DT    2
               103   4-Aug   4:40 PM   501.812.0003   CALL WAIT    CW   35
               104   4-Aug   4:39 PM   501.326.2588   BENTON       DT    2
               105   4-Aug   4:37 PM   501.920.5756   LITTLEROCK   DT    2
               106   4-Aug   4:32 PM   501.554.1310   LITTLEROCK   DT    5
               107   4-Aug   4:29 PM   501.920.5756   LITTLEROCK   DT    1
               108   4-Aug   4:13 PM   501.626.9402   LITTLEROCK   DT   11
               109   4-Aug   4:05 PM   501.295.2829   LITTLEROCK   DT    1
               110   4-Aug   4:03 PM   501.920.5756   LITTLEROCK   DT    1
               111   4-Aug   3:58 PM   501.351.3287   LITTLEROCK   DT    5
               112   4-Aug   3:56 PM   501.326.2588   BENTON       DT    3
               113   4-Aug   3:48 PM   501.295.2829   LITTLEROCK   DT   10
               114   4-Aug   3:39 PM   501.920.5756   LITTLEROCK   DT    7
               115   4-Aug   3:09 PM   501.326.2588   INCOMING     DT   22
               116   4-Aug   2:35 PM   501.554.1310   LITTLEROCK   DT   24
               117   4-Aug   2:18 PM   417.865.0769   SPRINGFLD    DT   17
               118   4-Aug   2:12 PM   870.520.0797   JONESBORO    DT    5
               119   4-Aug   2:09 PM   501.554.1310   LITTLEROCK   DT    4
Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 4 of 8




               120   4-Aug    2:03 PM   501.326.2588   BENTON       DT    7
               121   4-Aug    1:10 PM   501.371.6412   LITTLEROCK   DT   52
               122   4-Aug   12:39 PM   501.812.0003   INCOMING     DT   28
               123   4-Aug   12:38 PM   501.812.0003   LITTLEROCK   DT    1
               124   4-Aug   12:35 PM   501.326.2588   BENTON       DT    1
               125   4-Aug   12:21 PM   501.554.1310   LITTLEROCK   DT   14
               126   4-Aug   12:18 PM   501.812.0003   LITTLEROCK   DT    1
               127   4-Aug   12:17 PM   501.326.2588   BENTON       DT    1
               128   4-Aug   12:03 PM   501.467.4907   MALVERN      DT    3
               129   4-Aug   11:47 AM   870.520.0797   JONESBORO    DT    4
               130   4-Aug   11:15 AM   501.256.5922   LITTLEROCK   DT    1
               131   4-Aug   11:03 AM   501.920.5756   LITTLEROCK   DT    4
               132   4-Aug   11:01 AM   501.295.2829   LITTLEROCK   DT    3
               133   4-Aug   10:59 AM   501.326.2588   BENTON       DT    2
               134   4-Aug   10:56 AM   501.295.2829   INCOMING     DT    3
               135   4-Aug   10:37 AM   501.681.5444   LITTLEROCK   DT   15
               136   4-Aug   10:36 AM   501.295.2829   LITTLEROCK   DT    1
               137   4-Aug   10:34 AM   501.295.2829   CALL WAIT    CW    1
               138   4-Aug   10:33 AM   501.326.2588   BENTON       DT    1
               139   4-Aug   10:25 AM   501.326.2588   BENTON       DT    5
               140   4-Aug   10:03 AM   501.230.7540   SEARCY       DT   12
               141   4-Aug   10:01 AM   501.295.2829   LITTLEROCK   DT    2
               142   4-Aug    9:57 AM   501.351.3287   LITTLEROCK   DT    2
               143   4-Aug    9:54 AM   501.256.5922   LITTLEROCK   DT    2
               144   4-Aug    9:53 AM   501.351.3287   LITTLEROCK   DT    2
               145   4-Aug    9:46 AM   501.295.2829   LITTLEROCK   DT    7
               146   4-Aug    9:44 AM   501.920.5756   INCOMING     DT    1
               147   4-Aug    9:26 AM   501.920.5756   LITTLEROCK   DT    3
               148   4-Aug    9:24 AM   501.256.5922   LITTLEROCK   DT    1
               149   4-Aug    9:05 AM   501.626.9402   LITTLEROCK   DT   11
               150   4-Aug    8:04 AM   501.326.2588   INCOMING     DT    1
               151   4-Aug    7:37 AM   501.516.0545   LITTLEROCK   DT   14
               152   4-Aug    7:36 AM   501.516.0545   LITTLEROCK   DT    1
               153   4-Aug    7:03 AM   501.554.1310   INCOMING     DT   32
               154   3-Aug    7:56 PM   501.554.1310   INCOMING     DT   29
               155   3-Aug    7:12 PM   501.256.5922   INCOMING     DT    1
               156   3-Aug    6:56 PM   501.256.5922   INCOMING     DT    1
               157   3-Aug    6:02 PM   501.351.6933   CALL WAIT    CW    1
               158   3-Aug    6:02 PM   501.554.1310   CALL WAIT    CW    1
               159   3-Aug    5:49 PM   501.351.6933   INCOMING     DT   14
               160   3-Aug    5:32 PM   870.520.0797   INCOMING     DT    4
Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 5 of 8




               161   3-Aug    5:31 PM   870.520.0797   JONESBORO    DT    1
               162   3-Aug    4:45 PM   501.554.1310   LITTLEROCK   DT   15
               163   3-Aug    4:34 PM   501.920.5756   LITTLEROCK   DT    1
               164   3-Aug    4:30 PM   501.326.7055   BENTON       DT    1
               165   3-Aug    4:17 PM   501.626.4068   LITTLEROCK   DT   12
               166   3-Aug    4:14 PM   501.256.5922   LITTLEROCK   DT    3
               167   3-Aug    4:05 PM   417.861.0611   SPRINGFLD    DT    9
               168   3-Aug    3:49 PM   501.256.5922   INCOMING     DT   16
               169   3-Aug    3:35 PM   501.317.0446   BENTON       DT    1
               170   3-Aug    3:29 PM   870.761.8282   JONESBORO    DT    1
               171   3-Aug    2:57 PM   760.962.5201   INCOMING     DT    1
               172   3-Aug    2:36 PM   501.554.1310   INCOMING     DT   19
               173   3-Aug    2:13 PM   501.326.2588   BENTON       DT    1
               174   3-Aug    2:03 PM   501.626.4068   INCOMING     DT    1
               175   3-Aug    1:45 PM   501.326.2588   INCOMING     DT    4
               176   3-Aug    1:42 PM   501.326.2588   BENTON       DT    1
               177   3-Aug    1:22 PM   501.326.2588   INCOMING     DT    6
               178   3-Aug    1:22 PM   501.326.2588   BENTON       DT    1
               179   3-Aug    1:13 PM   501.920.5756   LITTLEROCK   DT    7
               180   3-Aug    1:05 PM   501.230.7540   INCOMING     DT    8
               181   3-Aug    1:04 PM   501.230.7540   INCOMING     DT    2
               182   3-Aug   12:55 PM   501.256.5922   LITTLEROCK   DT    4
               183   3-Aug   12:48 PM   501.230.7540   CALL WAIT    CW    1
               184   3-Aug   12:47 PM   501.351.3287   LITTLEROCK   DT    1
               185   3-Aug   12:43 PM   501.812.0003   LITTLEROCK   DT    4
               186   3-Aug   12:43 PM   501.812.0003   CALL WAIT    CW    1
               187   3-Aug   12:38 PM   501.554.1310   CALL WAIT    CW    5
               188   3-Aug   12:38 PM   501.554.1310   LITTLEROCK   DT    2
               189   3-Aug   12:33 PM   501.326.2588   BENTON       DT    4
               190   3-Aug   12:33 PM   682.350.0444   FORT WORTH   DT    1
               191   3-Aug   12:33 PM   682.350.0444   FORT WORTH   DT    1
               192   3-Aug   12:21 PM   501.326.2588   BENTON       DT    4
               193   3-Aug   12:19 PM   501.326.2588   BENTON       DT    2
               194   3-Aug   12:19 PM   501.554.1310   LITTLEROCK   DT    1
               195   3-Aug   12:15 PM   501.920.5766   LITTLEROCK   DT    4
               196   3-Aug   12:14 PM   501.256.5922   LITTLEROCK   DT    1
               197   3-Aug   12:08 PM   501.326.2588   INCOMING     DT    7
               198   3-Aug   11:51 AM   501.351.3287   LITTLEROCK   DT    2
               199   3-Aug   11:44 AM   501.295.2829   LITTLEROCK   DT    1
               200   3-Aug   11:41 AM   501.326.2588   BENTON       DT    1
               201   3-Aug   11:38 AM   501.467.4907   MALVERN      DT    4
Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 6 of 8




               202   3-Aug   11:37 AM   501.256.5922   LITTLEROCK   DT     1
               203   3-Aug   11:36 AM   501.951.0843   INCOMING     DT     1
               204   3-Aug   11:35 AM   501.951.0843   LITTLEROCK   DT     2
               205   3-Aug   11:31 AM   501.626.4068   LITTLEROCK   DT     2
               206   3-Aug   11:28 AM   501.326.2588   BENTON       DT     3
               207   3-Aug   11:27 AM   501.256.5922   LITTLEROCK   DT     2
               208   3-Aug   11:18 AM   501.772.0830   LITTLEROCK   DT     9
               209   3-Aug   11:15 AM   501.351.6933   LITTLEROCK   DT     1
               210   3-Aug   10:48 AM   501.326.2588   BENTON       DT    27
               211   3-Aug   10:36 AM   417.861.0611   SPRINGFLD    DT    11
               212   3-Aug   10:20 AM   501.326.2588   BENTON       DT     4
               213   3-Aug   10:18 AM   501.256.5922   LITTLEROCK   DT     2
               214   3-Aug   10:15 AM   501.626.4068   LITTLEROCK   DT     3
               215   3-Aug   10:15 AM   501.626.4068   LITTLEROCK   DT     1
               216   3-Aug   10:11 AM   501.256.5922   INCOMING     DT     3
               217   3-Aug   10:10 AM   501.317.0446   BENTON       DT     2
               218   3-Aug   10:04 AM   501.326.2588   BENTON       DT     3
               219   3-Aug    9:18 AM   501.626.4068   LITTLEROCK   DT     2
               220   3-Aug    9:11 AM   501.771.9229   LITTLEROCK   DT     1
               221   3-Aug    8:44 AM   501.920.5756   LITTLEROCK   DT     2
               222   3-Aug    8:10 AM   501.771.9727   LITTLEROCK   DT     2
               223   3-Aug    8:09 AM   501.326.2588   INCOMING     DT     1
               224   3-Aug    8:03 AM   501.295.2829   INCOMING     DT     2
               225   3-Aug    7:49 AM   501.920.5756   INCOMING     DT     2
               226   3-Aug    7:36 AM   501.256.5922   LITTLEROCK   DT     4
               227   3-Aug    7:25 AM   501.920.5756   CALL WAIT    CW     3
               228   3-Aug    7:25 AM   501.920.5756   LITTLEROCK   DT     2
               229   3-Aug    7:22 AM   501.295.2829   LITTLEROCK   DT     3
               230   3-Aug    7:20 AM   417.861.0611   SPRINGFLD    DT     1
               231   3-Aug    7:19 AM   870.761.8282   JONESBORO    DT     1
               232   3-Aug    7:05 AM   501.554.1310   INCOMING     DT    15
               233   3-Aug    7:03 AM   501.554.1310   LITTLEROCK   DT     1
               234   2-Aug    9:42 PM   417.865.0769   INCOMING     NW   112
               235   2-Aug    6:54 PM   501.256.5922   LITTLEROCK   DT     2
               236   2-Aug    5:21 PM   501.352.8332   INCOMING     DT     2
               237   2-Aug    5:11 PM   501.326.2588   BENTON       DT     1
               238   2-Aug    5:11 PM   501.554.1310   LITTLEROCK   DT     1
               239   2-Aug    4:57 PM   501.554.1310   LITTLEROCK   DT     4
               240   2-Aug    4:54 PM   501.317.0446   BENTON       DT     1
               241   2-Aug    4:46 PM   501.326.2588   BENTON       DT     8
               242   2-Aug    4:43 PM   501.920.5756   LITTLEROCK   DT     3
Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 7 of 8




               243   2-Aug    4:42 PM   501.920.5756   CALL WAIT    CW    1
               244   2-Aug    4:39 PM   501.326.2588   BENTON       DT    4
               245   2-Aug    4:38 PM   501.920.5756   INCOMING     DT    1
               246   2-Aug    4:36 PM   501.920.5756   LITTLEROCK   DT    1
               247   2-Aug    4:31 PM   501.326.2588   BENTON       DT    2
               248   2-Aug    4:30 PM   501.920.5756   INCOMING     DT    1
               249   2-Aug    4:25 PM   501.326.2588   INCOMING     DT    3
               250   2-Aug    4:06 PM   501.326.2588   BENTON       DT    6
               251   2-Aug    4:04 PM   501.539.1502   LITTLEROCK   DT    1
               252   2-Aug    3:55 PM   501.554.1310   LITTLEROCK   DT    5
               253   2-Aug    3:54 PM   501.554.1310   LITTLEROCK   DT    1
               254   2-Aug    3:07 PM   501.256.5922   LITTLEROCK   DT    2
               255   2-Aug    3:06 PM   501.554.1310   LITTLEROCK   DT    1
               256   2-Aug    2:57 PM   501.539.1502   LITTLEROCK   DT    2
               257   2-Aug    2:54 PM   501.563.0993   CALL WAIT    CW    4
               258   2-Aug    2:46 PM   501.554.1310   LITTLEROCK   DT    8
               259   2-Aug    2:42 PM   501.539.1502   INCOMING     DT    4
               260   2-Aug    2:39 PM   501.539.1502   LITTLEROCK   DT    2
               261   2-Aug    2:15 PM   501.326.2588   BENTON       DT   16
               262   2-Aug    1:49 PM   501.467.4907   MALVERN      DT    2
               263   2-Aug    1:27 PM   501.554.1310   LITTLEROCK   DT   23
               264   2-Aug    1:22 PM   501.920.5756   CALL WAIT    CW    1
               265   2-Aug    1:22 PM   501.256.5922   LITTLEROCK   DT    2
               266   2-Aug    1:20 PM   501.626.4068   LITTLEROCK   DT    2
               267   2-Aug    1:18 PM   501.920.5756   LITTLEROCK   DT    1
               268   2-Aug    1:09 PM   501.256.5922   CALL WAIT    CW    4
               269   2-Aug   12:57 PM   501.326.2588   BENTON       DT   21
               270   2-Aug   12:35 PM   501.326.2588   INCOMING     DT    1
               271   2-Aug   12:28 PM   501.351.3287   CALL WAIT    CW    2
               272   2-Aug   12:24 PM   501.554.1310   LITTLEROCK   DT    5
               273   2-Aug   12:23 PM   501.258.7210   LITTLEROCK   DT    1
               274   2-Aug   12:19 PM   501.467.4907   MALVERN      DT    3
               275   2-Aug   11:52 AM   501.256.5922   INCOMING     DT    3
               276   2-Aug   11:22 AM   501.516.0545   LITTLEROCK   DT    2
               277   2-Aug   11:17 AM   501.295.2829   LITTLEROCK   DT    4
               278   2-Aug   11:15 AM   501.563.0993   LITTLEROCK   DT    1
               279   2-Aug   11:10 AM   501.326.2588   BENTON       DT    6
               280   2-Aug   10:24 AM   501.326.2588   BENTON       DT    1
               281   2-Aug   10:13 AM   501.326.2588   BENTON       DT    8
               282   2-Aug   10:10 AM   501.650.1642   INCOMING     DT    4
               283   2-Aug    9:56 AM   501.256.5922   LITTLEROCK   DT    2
Case 4:21-cv-00941-JM Document 48-3 Filed 06/10/22 Page 8 of 8




               284   2-Aug   9:37 AM   501.960.8711   LITTLEROCK   DT    2
               285   2-Aug   9:36 AM   501.371.6412   LITTLEROCK   DT    1
               286   2-Aug   9:30 AM   501.554.1310   LITTLEROCK   DT    3
               287   2-Aug   9:23 AM   501.256.5922   INCOMING     DT    3
               288   2-Aug   9:14 AM   501.920.5756   LITTLEROCK   DT    1
               289   2-Aug   9:06 AM   501.771.9229   LITTLEROCK   DT    2
               290   2-Aug   8:53 AM   501.554.1310   LITTLEROCK   DT    2
               291   2-Aug   8:36 AM   501.258.7210   LITTLEROCK   DT    2
               292   2-Aug   8:02 AM   501.351.6933   INCOMING     DT    2
               293   2-Aug   7:38 AM   501.351.6933   LITTLEROCK   DT    1
               294   2-Aug   7:33 AM   501.626.4068   CALL WAIT    CW    4
               295   2-Aug   7:32 AM   501.626.4068   LITTLEROCK   DT    1
               296   2-Aug   7:27 AM   501.256.5922   LITTLEROCK   DT    5
               297   2-Aug   7:23 AM   501.516.0545   LITTLEROCK   DT    5
               298   2-Aug   7:21 AM   501.256.5922   LITTLEROCK   DT    1
               299   2-Aug   7:21 AM   501.256.5922   LITTLEROCK   DT    1
               300   2-Aug   7:18 AM   501.295.2829   LITTLEROCK   DT    3
               301   2-Aug   7:06 AM   501.554.1310   INCOMING     DT   12
